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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                     Plaintiff,

                v.                                      Criminal Action No. 1:06CR20-4


 ILLES WILLIAM,

                     Defendant.


                        REPORT AND RECOMMENDATION/OPINION

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Illes William, in person and by counsel, Lance Rollo, appeared before me on September 19, 2006.

 The Government appeared by Zelda E. Wesley, its Assistant United States Attorney.

        Thereupon, the Court proceeded with the Rule 11 proceeding by asking Defendant’s counsel

 what Defendant’s anticipated plea would be. Counsel responded that Defendant would enter a plea

 of “Guilty” to Count Five of the Indictment. The Court then determined that Defendant’s plea was

 pursuant to a written plea agreement, and asked the Government to tender the original to the Court.

 The Court then asked counsel for the Government to summarize the written Plea Agreement.

 Counsel for Defendant stated that the Government’s summary of the Plea Agreement was correct.

 The Court ORDERED the written Plea Agreement filed.

        Thereupon, the Court proceeded with the Rule 11 proceeding by first placing Defendant

 under oath, and thereafter inquiring of Defendant’s counsel as to Defendant’s understanding of his

 right to have an Article III Judge hear his plea and his willingness to waive that right, and instead
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 have a Magistrate Judge hear his plea. Thereupon, the Court inquired of Defendant concerning his

 understanding of his right to have an Article III Judge hear the entry of his guilty plea and his

 understanding of the difference between an Article III Judge and a Magistrate Judge. Defendant

 thereafter stated in open court that he voluntarily waived his right to have an Article III Judge hear

 his plea and voluntarily consented to the undersigned Magistrate Judge hearing his plea, and

 tendered to the Court a written Waiver of Article III Judge and Consent To Enter Guilty Plea Before

 Magistrate Judge, which waiver and consent was signed by Defendant and countersigned by

 Defendant’s counsel and was concurred in by the signature of the Assistant United States Attorney

 appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of

 his counsel and the representations of the Government, the Court finds that the oral and written

 waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, Illes William, only after having had his rights fully explained to him and having a full

 understanding of those rights through consultation with his counsel, as well as through questioning

 by the Court.

        The Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

 Magistrate Judge filed and made part of the record.

        The undersigned then inquired of Defendant regarding his understanding of the written plea

 agreement. Defendant stated he understood the terms of the written plea agreement and also stated

 that it contained the whole of his agreement with the Government and no promises or representations




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 were made to him by the Government other than those terms contained in the written plea

 agreement.

        The undersigned then reviewed with Defendant Count Five of the Indictment, the statutory

 penalties applicable to an individual adjudicated guilty of the felony charge contained in Count Five

 of the Indictment, the impact of the sentencing guidelines on sentencing in general, and inquired of

 Defendant as to his competency to proceed with the plea hearing. From said review the

 undersigned Magistrate Judge determined Defendant understood the nature of the charge pending

 against him and understood the possible statutory maximum sentence which could be imposed upon

 his conviction or adjudication of guilty on that charge was imprisonment for a term of not more than

 twenty (20) years; understood the maximum fine that could be imposed was $1,000,000.00;

 understood that both fine and imprisonment could be imposed; understood he would be subject to

 a period of at least three (3) years of supervised release; and understood the Court would impose a

 special mandatory assessment of $100.00 for the felony conviction payable on or before the date of

 sentencing. He also understood he might be required by the Court to pay the costs of his

 incarceration and supervised release.

        Defendant also understood that his actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted.

        The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

 and voluntary execution of the written plea bargain agreement dated August 17, 2006, and signed

 by him on August 28, 2006, and determined the entry into said written plea bargain agreement was

 both knowledgeable and voluntary on the part of Defendant.




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        The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Five

 of the Indictment, the undersigned Magistrate Judge would write the subject Report and

 Recommendation and tender the same to the District Court Judge, and the undersigned would further

 order a pre-sentence investigation report be prepared by the probation officer attending the District

 Court, and only after the District Court had an opportunity to review the subject Report and

 Recommendation, as well as the pre-sentence investigation report, would the District Court make

 a determination as to whether to accept or reject Defendant’s plea of guilty or any recommendation

 contained within the plea agreement or pre-sentence report. The undersigned reiterated to the

 Defendant that the District Judge may not agree with the recommendations and stipulation contained

 in the written agreement.

        The undersigned Magistrate Judge further addressed the stipulation contained in the written

 plea bargain agreement, which provides:

        Pursuant to Sections 6B1.4 and 1B1.3 of the Guidelines, the parties hereby stipulate,
        and agree that the total relevant conduct of the defendant is between five (5) and
        twenty (20) grams of crack cocaine.

 The undersigned then advised Defendant, counsel for Defendant, and counsel for the United States,

 and determined that the same understood that the Court is not bound by the above stipulation and

 is not required to accept the above stipulation, and that should the Court not accept the above

 stipulation, Defendant would not have the right to withdraw his plea of Guilty to Count Five of the

 Indictment.



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        The undersigned Magistrate Judge further advised Defendant, in accord with Federal Rule

 of Criminal Procedure 11, in the event the District Court Judge rejected Defendant’s plea of guilty,

 Defendant would be permitted to withdraw his plea and proceed to trial. However, Defendant was

 further advised if the District Court Judge accepted his plea of guilty to the felony charge contained

 in Count Five of the Indictment, Defendant would not be permitted to withdraw his guilty plea even

 if the Judge refused to follow the non-binding recommendations and stipulation contained in the

 written plea agreement and/or sentenced him to a sentence which was different from that which he

 expected. Defendant and his counsel each acknowledged their understanding and Defendant

 maintained his desire to have his plea of guilty accepted.

        The undersigned Magistrate Judge further examined Defendant with regard to his

 understanding of the impact of his conditional waiver of his appellate rights as contained in the

 written plea agreement, and determined he understood those rights and voluntarily gave them up

 pursuant to the expressed condition as part of the written plea agreement.

        The undersigned Magistrate Judge further cautioned and examined Defendant under oath

 concerning all matters mentioned in Rule 11.

        The undersigned then reviewed with Defendant Count Five of the Indictment, including the

 elements the United States would have to prove at trial, charging him with Distribution of Crack

 Cocaine in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C), and Title

 18 United States Code Section 2.

        The Court then received the sworn testimony of West Virginia State Trooper Joseph

 Antolock in support of the yet to be made guilty plea to Count Five of the Indictment.




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        Cpl. Antolock testified he has been a West Virginia State Trooper for approximately 15

 years, assigned to the Bureau of Criminal Investigation (“BCI”). He was involved in the

 investigation of Defendant and others involved in the sale of narcotics in the Fairmont, West

 Virginia area. As part of the investigation, controlled buys were made in or about October 2005.

 Confidential Informants (“CI’s”) were utilized to make the controlled buys. On or about October

 20, 2005, a confidential informant made a controlled purchase of crack cocaine through Defendant.

 The CI went to a building on Oliver Street, Fairmont, that was the residence of Gary Bruder, a co-

 defendant in this case. The CI talked to an individual named Getz, and asked for a neighbor. Getz

 told him he could get a better deal elsewhere. The BCI phone was used to make calls to Defendant,

 and a meeting place was arranged. Getz met with Defendant. Defendant supplied Getz with an

 amount of crack cocaine. Getz then gave the crack cocaine to Gary Bruder, who cut an amount out

 for Getz. The CI received 1.73 grams of crack cocaine, as confirmed by the State Police Laboratory.

      The defendant stated he agreed with all the facts in Cpl. Antolock’s testimony. Thereupon,

 Defendant, Illes William, with the consent of his counsel, Lance Rollo, proceeded to enter a verbal

 plea of GUILTY to the felony charge contained in Count Five of the Indictment.

        Thereafter, Defendant’s under-oath allocution or statement of why he believed he was

 guilty of the charge contained in Count Five of the Indictment was received. The Defendant

 testified he received a telephone call and met up with “a guy” to sell him crack cocaine. He sold

 “the guy” 1.73 grams of crack cocaine and received $150.00 in return.

        From the testimony of Cpl. Antolock, the undersigned Magistrate Judge concludes the

 offense charged in Count Five of the Indictment is supported by an independent basis in fact




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 concerning each of the essential elements of such offense. This conclusion is supported by

 Defendant’s allocution.

        Upon consideration of all of the above, the undersigned Magistrate Judge finds that

 Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

 understood his right to have an Article III Judge hear his plea and elected to voluntarily consent to

 the undersigned United States Magistrate Judge hearing his plea; Defendant understood the charges

 against him, not only as to the Indictment as a whole, but in particular as to Count Five of the

 Indictment; Defendant understood the consequences of his plea of guilty, particularly the statutory

 penalties that may be imposed under 21 U.S.C. §§841(a)(1) and 841(b)(1)(C) and 18 U.S.C. § 2;

 Defendant made a knowing and voluntary plea; and Defendant’s plea is supported by the testimony

 of Cpl. Joseph Antolock as well as Defendant’s own allocution.

        The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to the

 felony charge contained Count Five of the Indictment herein be accepted conditioned upon the

 Court’s receipt and review of this Report and Recommendation and a Pre-Sentence Investigation

 Report, and that the Defendant be adjudged guilty on said charge as contained in Count Five of the

 Indictment and have sentence imposed accordingly.

        The undersigned further directs that a pre-sentence investigation report be prepared by the

 adult probation officer assigned to this case.

        Any party may, within ten (10) days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy

 of such objections should also be submitted to the Honorable Irene M. Keeley, Chief United States


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 District Judge. Failure to timely file objections to the Report and Recommendation set forth above

 will result in waiver of the right to appeal from a judgment of this Court based upon such report and

 recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

 cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

 474 U.S. 140 (1985).

        The Clerk of the Court is directed to send an authenticated copy of this Report and

 Recommendation to counsel of record.

        Respectfully submitted this 19th day of September, 2006.


                                      /s John S. Kaull

                                       JOHN S. KAULL
                                       UNITED STATES MAGISTRATE JUDGE




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